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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

U.S. SECURITIES AND EXCHANGE              :     CIVIL ACTION
COMMISSION,                               :     NO. 16-5176
                                          :
             Plaintiff,                   :
                                          :
     v.                                   :
                                          :
LOUIS T. BUONOCORE,                       :
JEREMY R. DRAPER,                         :
FRANK J. MORELLI, III,                    :
BERARDINO “DINO” PAOLUCCI, JR.,           :
and DON L. ROSE,                          :
                                          :
             Defendants.                  :

    FINAL JUDGMENT AS TO DEFENDANT BERARDINO “DINO” PAOLUCCI, JR.

             AND NOW, this 10th day of August, 2017, upon consideration

of the SEC’s motion for disgorgement, prejudgment interest, and civil

penalties, and for entry of final judgment against Defendant Berardino

“Dino” Paolucci, Jr. (ECF No. 35), it is hereby ORDERED that the SEC’s

motion is GRANTED and final judgment against Defendant Berardino

“Dino” Paolucci, Jr. is ENTERED as follows:

             1.    It is hereby ORDERED, ADJUDGED, and DECREED that

Defendant Paolucci is permanently restrained and enjoined from

violating, directly or indirectly, Section 10(b) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78j(b) and Rule

10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by using any

means or instrumentality of interstate commerce, or of the mails, or

of any facility of any national securities exchange, in connection

with the purchase or sale of any security:

                   (a) to employ any device, scheme, or artifice to
                   defraud;
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                   (b) to make any untrue statement of a material
                   fact or to omit to state a material fact
                   necessary in order to make the statements made,
                   in the light of the circumstances under which
                   they were made, not misleading; or

                   (c) to engage in any act, practice, or course
                   of business which operates or would operate as a
                   fraud or deceit upon any person.

     2.      It is further ORDERED, ADJUDGED, and DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing

paragraph also binds the following who receive actual notice of this

judgment by personal service or otherwise: (a) Defendant Paolucci’s

officers, agents, servants, employees, and attorneys; and (b) other

persons in active concert or participation with Defendant Paolucci or

with anyone described in (a).

     3.      It is further ORDERED, ADJUDGED, and DECREED that Defendant

Paolucci is permanently restrained and enjoined from violating Section

17(a) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.

§ 77q(a), in the offer or sale of any security by the use of any means

or instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly:

                   (a) to employ any device, scheme, or artifice to
                   defraud;

                   (b) to obtain money or property by means of any
                   untrue statements of a material fact or any
                   omission of a material fact necessary in order to
                   make the statements made, in light of the
                   circumstances under which they were made, not
                   misleading; or

                   (c) to engage in any transaction, practice, or
                   course of business which operates or would
                   operate as a fraud or deceit upon the purchaser.




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     4.      It is further ORDERED, ADJUDGED, and DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing

paragraph also binds the following who receive actual notice of this

judgment by personal service or otherwise: (a) Defendant Paolucci’s

officers, agents, servants, employees, and attorneys; and (b) other

persons in active concert or participation with Defendant Paolucci or

with anyone described in (a).

     5.      It is further ORDERED, ADJUDGED, and DECREED that Defendant

Paolucci is permanently restrained and enjoined from violating Section

13(d) of the Exchange Act, 15 U.S.C. § 77m(d), and Rules 13d-1 and

13d-2, 17 C.F.R. § 240.13d-1 and 17 C.F.R. § 240.13d-2, promulgated

thereunder by:

                   (a) failing to file with the SEC a statement
                   containing the information required by Schedule
                   13D (as provided in 17 C.F.R. § 240.13d-101),
                   within 10 days after acquiring directly or
                   indirectly the beneficial ownership of more than
                   five percent of any equity security of a class
                   which is specified in Exchange Act Rule 13d-1(i),
                   17 C.F.R. § 240.13d-1(i).

                   (b) failing to file with the SEC an amendment
                   disclosing any material change that occurs in the
                   facts set forth in the Schedule 13D that is or
                   was required to be filed under Exchange Act Rule
                   13d-1(a), 17 C.F.R. § 240.13d-1(a), including but
                   not limited to any material increase or decrease
                   in the percentage of the class of equity security
                   that is beneficially owned.

     6.      It is further ORDERED, ADJUDGED, and DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing

paragraph also binds the following who receive actual notice of this

judgment by personal service or otherwise: (a) Defendant Paolucci’s

officers, agents, servants, employees, and attorneys; and (b) other


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persons in active concert or participation with Defendant Paolucci or

with anyone described in (a).

      7.      It is further ORDERED, ADJUDGED, and DECREED that Defendant

Paolucci is permanently barred from participating in an offering of

penny stock, including engaging in activities with a broker, dealer,

or issuer for purposes of issuing, trading, or inducing or attempting

to induce the purchase or sale of any penny stock. 1

      8.      It is further ORDERED, ADJUDGED, and DECREED that Defendant

Paolucci is liable for disgorgement of $2,050,000, representing

profits gained as a result of the conduct alleged in the Complaint,

together with prejudgment interest thereon in the amount of

$316,692.50. Defendant Paolucci shall satisfy this obligation by

paying $2,366,692.50 to the SEC within 14 days after entry of this

final judgment. 2


1
            A penny stock is any equity security that has a price of less
than five dollars, except as provided in Rule 3a51-1 under the Exchange Act,
17 C.F.R. § 240.2a51-5.
2
            Defendant may transmit payment electronically to the SEC, which
will provide detailed ACH transfer/Fedwire instructions upon request. Payment
may also be made directly from a bank account via Pay.gov through the SEC
website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay
by certified check, bank cashier’s check, or United States postal money order
payable to the Securities and Exchange Commission, which shall be delivered
or mailed to:

              Enterprise Services Center
              Accounts Receivable Branch
              6500 South MacArthur Boulevard
              Oklahoma City, OK 73169

This payment shall be accompanied by a letter identifying the case title,
civil action number, and name of this Court; Frank J. Morelli as a defendant
in this action; and specifying that payment is made pursuant to this final
judgment.

            Defendant shall simultaneously transmit photocopies of evidence
of payment and case identifying information to the SEC’s counsel in this
action. By making this payment, Defendant relinquishes all legal and

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      9.      It is further ORDERED, ADJUDGED, and DECREED that Defendant

shall pay a civil penalty in the amount of $2,050,000.00 to the SEC

pursuant to Section 20(d) of the Securities Act and Section 21(d) of

the Exchange Act, 15 U.S.C. §§ 77t(d), 78u(d). Defendant Paolucci

shall satisfy this obligation by paying $2,050,000.00 to the SEC

within 30 days after entry of this final judgment. 3

      10.     It is further ORDERED, ADJUDGED, and DECREED that, solely

for purposes of exceptions to discharge set forth in Section 523 of

the Bankruptcy Code, 11 U.S.C. § 523, the allegations in the complaint

are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due

by Defendant under this final judgment or any other judgment, order,


equitable right, title, and interest in such funds and no part of the funds
shall be returned to Defendant. The SEC shall send the funds paid pursuant to
this final judgment to the United States Treasury.

            The SEC may enforce the Court’s judgment for disgorgement and
prejudgment interest by moving for civil contempt (and/or through other
collection procedures authorized by law) at any time after 14 days following
entry of this final judgment. Defendant shall pay post-judgment interest on
any delinquent amounts pursuant to 28 U.S.C. § 1961.
3
            The amount of any penalty imposed “should be determined ‘in light
of the facts and circumstances’ surrounding the violations.” 15 U.S.C.
§ 78u(d)(3). In making this discretionary determination, the Court considers
the following factors: “(1) the egregiousness of the violations, (2) the
isolated or repeated nature of the violations, (3) the degree of scienter
involved, (4) the deterrent effect given the defendant’s financial worth, and
(5) other penalties arising from the conduct.” SEC v. Huang, No. 15-269, 2016
WL 775764 at *8 (E.D. Pa. Feb. 25, 2016); SEC v. Berlacher, No. 07-3800, 2010
WL 3566790, at *16 (E.D. Pa. Sept. 13, 2010). Applying these factors to
Defendant Morelli’s significant role in the fraudulent scheme at issue in
this case, the Court finds it appropriate to impose a civil penalty equal to
“the gross amount of pecuniary gain to [Defendant Morelli] as a result of the
violation.” 15 U.S.C. § 78u(d)(3).

            For general instructions regarding transmission of this payment,
see supra n.2. The SEC may enforce the Court’s judgment for disgorgement and
prejudgment interest by moving for civil contempt (and/or through other
collection procedures authorized by law) at any time after 30 days following
entry of this final judgment. Defendant shall pay post-judgment interest on
any delinquent amounts pursuant to 28 U.S.C. § 1961.

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consent order, decree or settlement agreement entered in connection

with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such

laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11

U.S.C. § 523(a)(19).

     11.    It is further ORDERED, ADJUDGED, and DECREED that this

Court shall retain jurisdiction of this matter for five (5) years from

the date of entry of this order, unless extended by the Court, for the

purposes of enforcing the terms of this final judgment.

     12.    There having been a final determination on the merits as to

all counts against Defendant Berardino “Dino” Paolucci, Jr., and there

being no just reason for delay, the Clerk is directed to enter this

final judgment forthwith, pursuant to Federal Rule of Civil Procedure

54(b).



            AND IT IS SO ORDERED.



                                          /s/ Eduardo C. Robreno
                                          EDUARDO C. ROBRENO, J.




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